                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                     at CHATTANOOGA

 UNITED STATES OF AMERICA                              )
                                                       )       Case No. 1:12-cr-129
                                                       )
 v.                                                    )
                                                       )       MATTICE / LEE
 TERRY BALILES                                         )


                                             ORDER

        Magistrate Judge Susan K. Lee filed a report and recommendation recommending the Court:

 (1) grant Defendant’s motion to withdraw his not guilty plea to Count One of the six-count Second

 Superseding Indictment; (2) accept Defendant’s plea of guilty to the lesser included offense of the

 charge in Count One, that is of conspiracy to distribute five (5) grams or more of methamphetamine

 (actual) and fifty (50) grams or more of a mixture and substance containing methamphetamine, a

 Schedule II controlled substance, in violation of 21 U.S.C. §§ 846 and 841(b)(1)(B); (3) adjudicate

 Defendant guilty of the lesser included offense of the charge in Count One of the Second

 Superseding Indictment, that is of conspiracy to distribute five (5) grams or more of

 methamphetamine (actual) and fifty (50) grams or more of a mixture and substance containing

 methamphetamine, a Schedule II controlled substance, in violation of 21 U.S.C. §§ 846 and

 841(b)(1)(B); (4) defer a decision on whether to accept the plea agreement until sentencing; and (5)

 find Defendant shall remain in custody until sentencing in this matter [Doc. 186]. Neither party filed

 a timely objection to the report and recommendation. After reviewing the record, the Court agrees

 with the magistrate judge’s report and recommendation. Accordingly, the Court ACCEPTS and

 ADOPTS the magistrate judge’s report and recommendation [Doc. 186] pursuant to 28 U.S.C. §

 636(b)(1) and ORDERS as follows:



Case 1:12-cr-00129-TRM-SKL            Document 263         Filed 07/05/13      Page 1 of 2      PageID
                                            #: 567
       (1)   Defendant’s motion to withdraw his not guilty plea to Count One of the Second

             Superseding Indictment is GRANTED;

       (2)   Defendant’s plea of guilty to the lesser included offense of the charge in Count One,

             that is of conspiracy to distribute five (5) grams or more of methamphetamine

             (actual) and fifty (50) grams or more of a mixture and substance containing

             methamphetamine, a Schedule II controlled substance, in violation of 21 U.S.C.

             §§ 846 and 841(b)(1)(B) is ACCEPTED;

       (3)   Defendant is hereby ADJUDGED guilty of the lesser included offense of the charge

             in Count One, that is of conspiracy to distribute five (5) grams or more of

             methamphetamine (actual) and fifty (50) grams or more of a mixture and substance

             containing methamphetamine, a Schedule II controlled substance, in violation of 21

             U.S.C. §§ 846 and 841(b)(1)(B).

       (4)   A decision on whether to accept the plea agreement is DEFERRED until sentencing;

             and

       (5)   Defendant SHALL REMAIN in custody until sentencing in this matter which is

             scheduled to take place on Monday, September 16, 2013 at 2:00 p.m. before the

             Honorable Harry S. Mattice, Jr.

       SO ORDERED.

       ENTER:

                                                        /s/Harry S. Mattice, Jr.
                                                        HARRY S. MATTICE, JR.
                                                   UNITED STATES DISTRICT JUDGE




                                               2


Case 1:12-cr-00129-TRM-SKL        Document 263        Filed 07/05/13      Page 2 of 2      PageID
                                        #: 568
